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 1                IN THE UNITED STATES DISTRICT COURT

 2                    FOR THE DISTRICT OF MARYLAND

 3                          SOUTHERN DIVISION

 4    ATREYI CHAKRABARTI, et al.,         ) CIVIL ACTION
                                          ) NO. PJM-21-1945
 5                Plaintiffs,             )
                                          )
 6    v.                                  )
                                          )
 7    UNITED STATES CITIZENSHIP AND       )
      IMMIGRATION SERVICES, et al.,       )
 8                                        )
                  Defendants.             )
 9
                     TRANSCRIPT OF TELEPHONIC PROCEEDINGS
10                  BEFORE THE HONORABLE PETER J. MESSITTE
                         UNITED STATES DISTRICT JUDGE
11                  TUESDAY, SEPTEMBER 14, 2021; 2:00 P.M.
                              GREENBELT, MARYLAND
12
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 1               THE COURT:     Counsel, Judge Messitte here.         Let me

 2    make sure I have everyone on the call who is supposed to be.

 3           Mr. Joseph, are you there?

 4               MR. JOSEPH:    Yes, Your Honor, I am present.

 5               THE COURT:     Charles Kuck?

 6               MR. KUCK:    Charles Kuck.     I am here, Your Honor.

 7               THE COURT:     Kuck, I'm sorry.

 8           Gregory Siskind?

 9               MR. SISKIND:     Yes.   I am here, Your Honor.

10               THE COURT:     Johnna Bailey?

11               MS. BAILEY:    Yes.     Johnna Main Bailey.    I am here,

12    Your Honor.

13               THE COURT:     Anyone else from plaintiffs' counsel?

14           And for the defendant agency?

15               MS. LeDUC:     This is Vickie LeDuc from the U.S.

16    Attorney's Office.

17               THE COURT:     Anyone else?

18               MS. VUONG:     Yes.    This is Sarah Vuong from Department

19    of Justice, Office of Immigration Litigation.

20               THE COURT:     Were you involved in the September 1st

21    hearing, Ms. Vuong?

22               MS. VUONG:     I was listening in.

23               THE COURT:     Okay.    Anyone else?

24           All right.    Well, I have a few questions and then some

25    statements that I need to make to counsel.         I gather that it is
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 1    unlikely that the agency would be able to process -- is willing

 2    or able to process these 190 plus applications by September 30.

 3    Is that a correct statement, Ms. LeDuc?

 4                MS. LeDUC:   Yes, Your Honor.     The agency is willing

 5    but is unable to do this at this eleventh hour and especially

 6    with all the other additional applicants that are in line to

 7    have their applications processed.

 8                THE COURT:   Are there additional applicants of the

 9    same category that is like the 196 but there are more of them

10    who would like to have their status adjudicated by September

11    30?

12                MS. LeDUC:   Yes, Your Honor.

13                THE COURT:   Do you have any idea of the number?

14                MS. LeDUC:   I do somewhere in here.      I had written it

15    down.   I believe that there are --

16                THE COURT:   Just approximately.

17                MS. LeDUC:   I want to say there are at least -- there

18    are probably over 100,000 more.       I will try to find that and

19    get back to you, but --

20                THE COURT:   That's the magnitude of the other people

21    who would like the same resolution?

22                MS. LeDUC:   I want to say a few -- at least there are

23    several hundred.

24                THE COURT:   Okay.   Fair enough.

25            Now, I gather, and from reading the government's
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 1    opposition, that there is no particular way that the agency can

 2    hold visas beyond September 30, visa spots to adjudicate these

 3    requests in I guess more or less expedited fashion?

 4                 MS. LeDUC:   That's correct, Your Honor.      In fact, the

 5    INA precludes even USCIS from holding because the statute is

 6    very clear that anything that is unused, any visa numbers that

 7    are unused need to be rolled over into the family sponsored

 8    program.

 9                 THE COURT:   Okay.   Okay.   Is it a fair statement that

10    these 196 plaintiffs, more or less, whatever the number is, as

11    we have found today would be given priority treatment over

12    these at least several hundred others for no reason other than

13    that they filed this suit?

14                 MS. LeDUC:   For no reason other than they would file

15    this suit.    USCIS is right now trying to adjudicate all of the

16    applications according to first in, first out as specified by

17    statute, and so they have to process those in their ordinary

18    course and normal course of business.

19                 THE COURT:   Now, when you say all these applications,

20    you mean besides the 196, the additional several hundred, you

21    said, at one point, 100,000, are you talking about trying to

22    process all those applicants before September 30?

23                 MS. LeDUC:   Yes.    The plaintiffs' applications as

24    well as the others that have applied in front of plaintiffs.

25    And, again, that's, you know, on a first in, first out basis.
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 1                THE COURT:   Okay.     Fair enough.   Where are they being

 2    adjudicated?    Are they being determined in Maryland or are they

 3    being determined in the regents or the service centers?

 4                MS. LeDUC:   None of them are being determined in

 5    Maryland.   None of them.     There is -- there is no personal

 6    involvement by any CIS officer here in Maryland as to any of

 7    the 196 applications.     They are being processed in the Nebraska

 8    Service Center, Texas Service Center, and various other field

 9    offices.    And that's set forth in the charts that are Exhibits

10    1 and 2 of our opposition that show exactly where each

11    application is.

12                THE COURT:   Okay.     Is there any sense, then, of what

13    percentage of these applications might be actually acted upon

14    by September 30?     50 percent?    25 percent?

15                MS. LeDUC:   As to the plaintiffs, I have got a

16    current number of 14 out of the 196 have been adjudicated.             And

17    the -- on Exhibit 3 that we filed with our opposition, the

18    Andrew Parker declaration shows in paragraph 6 that for this

19    fiscal year, as of August 30th, USCIS adjudicated 168,694

20    applications out of 262,288 is the -- is the limit.             They

21    project -- CIS projects that by the end of this year, by

22    September 30th, they will have adjudicated 179,570

23    applications, again, out of the 262,288 limit.

24                THE COURT:   Of the 100 -- I am really talking now

25    about the 196 or so plaintiffs in this case, not the generic
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 1    issue, but what happens if they are not -- their applications

 2    are not adjudicated by September 30th?        Are they -- do they

 3    lose a place in line?     Do they start again?      What is the

 4    procedure?

 5                 MS. LeDUC:   They keep their place in line.        They do

 6    not have to reapply.      They don't have to re-file.      They don't

 7    pay another fee.     They keep their place in line.       And the -- by

 8    statute, the unused visa numbers must be rolled over into the

 9    family sponsors category for next year.

10            This is Congress' decision that that is -- that the

11    statute is very clear that that's where the unused applications

12    need to go.    But plaintiffs do not lose their -- their -- their

13    order, their place in line, and they can be adjudicated in the

14    next year.    And, in fact, in Andrew Parker's declaration,

15    Exhibit 3, he indicates that it is expected that there are

16    enough, you know, for applicants who are in the EB1 category,

17    EB2 category that there will be sufficient number allotted to

18    process and adjudicate those plaintiffs in the next fiscal

19    year.

20            As to the EB3 plaintiffs, Mr. Parker projects that, you

21    know, any additional visa numbers in that category will not

22    help the plaintiffs from India and China because of the seven

23    percent per country limit so that those EB3 visas would go to

24    other countries and not to India/China.

25                 THE COURT:   Okay.   Let me turn to plaintiffs' counsel
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 1    and ask if there is a question.       Mr. Joseph, would you like to

 2    ask a question or make a statement?        Mr. Joseph?

 3               MR. JOSEPH:    Yes, I would, Your Honor, if I may.      So

 4    this case is -- has a little bit of a unique political history

 5    and history with regard to the visa bulletin because the way

 6    that visas are allocated every year are first by employment

 7    versus family-based categories, and there is a cap in each

 8    category, and then visas are further broken down by country of

 9    origin.   And so because of oversubscription from India and

10    China historically, there has been a significant backlog of

11    applications from those two countries over time.

12           So to put this in perspective, if you look to the visa

13    bulletin from this year at this time and you take the

14    categories in which we are talking about, if you take, for

15    example, skilled workers or professionals from India,

16    Immigration was processing applications that were started in

17    January of 2010 for India for professionals.         One year later,

18    in October 2021 (sic), they're processing applications that

19    were filed January of 2014, so there was a three-year jump in

20    the availability of visas over that time due to the

21    undersubscription of employment-based visas during COVID.

22           So starting in around October and November of 2020, there

23    was this window of opportunity where people from India and

24    China could all of a sudden apply for permanent residence and

25    be put in a line to get a Green Card because of an
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 1    undersubscription of numbers from that year.

 2             So all of these hundreds of thousands of individuals that

 3    the government said paid $1225 each, including for their

 4    dependents, they filed their applications for Green Card.       They

 5    did put themselves in a line believing that this was their one

 6    opportunity to get a Green Card.       In fact, in public statements

 7    around this time, USCIS and Department of State believed that

 8    they would have enough numbers, based on the undersubscription

 9    of employment-based numbers during COVID, that all

10    employment-based numbers would be used and that we could, in

11    fact, be in a situation where India and China were current for

12    the first time in history.

13             So, you know, having relied on this and relied on the

14    belief that this was their one chance, the government created

15    the ultimate bait and switch.       They took their money and now

16    they said, Oh, by the way, we are going to waste these visas.

17    And you ask what happens if these visas do not get used, Your

18    Honor.    Well, the fact is by wasting hundreds of thousands of

19    visas and not letting them go used, the backlogs don't get

20    better.    They actually get significantly worse going into the

21    next year.    So contrary to what the government says where they

22    think they will be able to use all those numbers in the next

23    year, that's just not true because having failed to use the

24    numbers this year, the backlogs just get longer and longer and

25    longer.
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 1             With regard to whether any of these cases are adjudicated

 2    in the state of Maryland, Your Honor, the government has

 3    already conceded on this point at the last hearing.              At the

 4    last hearing, Ms. Renaud, who testified before the Court,

 5    stated at line 17 on page 33 of the transcript, this Court

 6    asked:    Who is it that makes the determination of what

 7    priorities should be honored?       And Ms. Renaud stated, quote, At

 8    a very high level, frankly, it's the director, and so that's

 9    one of the things every incoming director we work with to stay.

10    And then the Court said, You are talking about the national

11    director of the service?      The regional director?      Who?     And

12    Ms. Renaud said, Well, it starts with the director of the

13    agency the Senate confirmed, which is Ur Jaddou, and she's been

14    on board for two weeks and Afghanistan hits.

15             So even the government concedes that this policy-making

16    decision about how visas should be allocated for adjustment

17    status and consult processing is made at the highest levels of

18    government with the directorate level position, and Ur Jaddou

19    specifically sits and resides at headquarters in Maryland.

20             Because we are challenging a policy that is applied the

21    same way against 196 and, in fact, hundreds of thousands of

22    visa applicants, it is only appropriate that we file this suit

23    in Maryland where those policy decisions are being made.

24             The one thing that I think is striking, Your Honor, is

25    that you have asked the government several times how many are
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 1    going to be adjudicated, and there is really no answer to that

 2    question.    There is no plan and there hasn't been a plan since

 3    we started asking the questions in October knowing that this

 4    was going to -- that there was going to be a problem with

 5    undersubscription.      The fact that 14 out 196 of the plaintiffs

 6    have been adjudicated in this case after filing this suit,

 7    which constitutes less than ten percent, about seven percent of

 8    the cases, should cause this Court a lot of pause and a lot of

 9    concern.

10           We know that it takes an adjudicator approximately 1.63

11    hours to adjudicate an I-485 application.         But we know that

12    people are going to be losing their jobs, families are going to

13    be separated, people are going to age out of eligibility to get

14    a Green Card when they turn 21, and lives are really being put

15    on hold for the government's waste of --

16                THE COURT:    Mr. Joseph, I need you to stop.        I didn't

17    really expect a full brief on this.        I really wondered if you

18    had any questions that you wanted to ask.

19                MR. JOSEPH:    No, Your Honor.     That's all I have for

20    now.

21                THE COURT:    Let's go to the next counsel, that would

22    be Mr. Kuck, do you want to make a statement briefly but also

23    ask a question to Ms. LeDuc?

24                MR. KUCK:    I don't know if it's a question, Your

25    Honor, but I do have a concern with something Ms. LeDuc said is
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 1    that that agency handles cases in a first in, first out

 2    procedure.    We know that's not correct.       On their own website,

 3    USCIS.gov, they list the, quote, processing times, and they

 4    don't list a minimum/maximum.       They list a first number, which

 5    is the median number, and then they list a second number, which

 6    at least four percent of the cases take in processing, and

 7    that's from statements given by the head of the DHS, Secretary

 8    Mayorkas, in front of the AILA national conference this last

 9    June.   So the idea that cases are taken in first in, first out

10    in some sort of strict order we know is not true.

11            We also know from our own plaintiffs and those

12    individuals that have already been approved that they are not

13    the earliest filed cases.       Even worse, Your Honor, is that, as

14    Ms. LeDuc said, there are different service centers that

15    process these cases.      Well, the Nebraska Service Center says

16    they have a processing time for 45s that is a median time frame

17    of 12 months.     The Texas Service Center says they have a median

18    processing time of 25 months.       So the concern here, Your Honor,

19    is that the information that's being provided by the government

20    is not accurate in the context of this.

21            The second thing I would say is this, Your Honor, in that

22    the -- the government has articulated its position that it does

23    not have authority to -- to issue these left over, as they have

24    just told you, 85,000 unused immigrant visa numbers that, as

25    far as they are concerned, will evaporate, meaning almost six
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 1    months or eight months worth of Green Cards will be delayed for

 2    both on the front end for our clients who are obviously a

 3    minuscule part of, you know, 196 out of 89,000, but for people

 4    in the future going forward, which is why, in our complaint, we

 5    are asking that the Court in equity reserve these numbers

 6    similar to the way that Judge Mehta has done on diversity visas

 7    which have the same statutory mandate uses in the year.          So we

 8    certainly appreciate the government's position on this, but

 9    this Court has additional authority that they are ignoring

10    here.

11            Now, we don't know why they simply don't agree to the

12    Court's equity jurisdiction on this, but that's all I'd like to

13    say, Your Honor.

14            Thank you.

15                THE COURT:    All right.    Ms. LeDuc, would you like to

16    respond to that?

17                MS. LeDUC:    Yes, Your Honor.

18                THE COURT:    Go ahead.

19                MS. LeDUC:    Thank you.

20            First of all, the -- the plaintiffs are now saying today

21    that there is some policy that USCIS has against somehow

22    delaying the adjudication of these applications.          They allege

23    no policy in the complaint or in their motion.          There is no

24    policy.    They are trying to say there is a policy which

25    involves headquarters in Maryland, but their complaint and
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 1    their motion doesn't ask the Court to overturn any policy.        It

 2    asks the Court to compel USCIS to adjudicate each individual

 3    application because they believe there is unreasonable delay.

 4           So you have 196 plaintiffs.       Each one, a completely set

 5    of different facts that USCIS has to look at individually and

 6    they have to look at it in their adjudicating offices which are

 7    all over the country but not in Maryland.

 8           And these kinds of applications are very fact intensive.

 9    They require, you know, the FBI to do background checks.         They

10    require biometrics information like medical information.         Each

11    one is individual and none of them are being adjudicated or are

12    being processed or are being looked at here in Maryland.

13           When plaintiffs say there is these higher ups that are

14    making decisions, well, the -- all the adjudicating officers

15    throughout the country have to follow what Congress enacts.

16    And Congress said, Here is a system where you have so many

17    visas allotted each year, and it never said that USCIS has to

18    issue every single one of them within that year because

19    Congress has said any -- any unused visa numbers are rolled

20    into the family sponsors and vice versa.         So there is no policy

21    issue here.    There is no -- no involvement by Maryland

22    headquarters in these individual applications that plaintiffs

23    are asking to have adjudicated.

24           Now, they talked about processing times, and I wanted to

25    point out plaintiffs allege that their applications have been
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 1    pending for seven to nine months, seven to nine months.          That

 2    -- that's their unreasonable delay claim.         If you look at the

 3    current processing times that are set forth on USCIS' website

 4    which is in Andrew Parker's declaration, the Texas Service

 5    Center has, you know, processing times of 24 to 62 months, well

 6    -- well more time than the seven to nine months plaintiffs

 7    allege.    And the Nebraska Service Center, their processing

 8    times are 11 to 23 months.        Those are average processing times.

 9           The agency can't provide estimates for processing certain

10    categories -- certain individual I-485s because each

11    application is based on multiple factors, again, the receipt of

12    biometrics and security checks from FBI, whether the

13    application includes all the current required documents, such

14    as medical forms, whether there is additional evidence or an

15    interview that's required, those -- each individual plaintiff

16    here has their own individual application that has individual

17    circumstances.

18                THE COURT:    I think you can stop there.      I know you

19    have made that point.

20           Mr. Siskind, do you have a question or a comment that

21    you'd like to make?      Mr. Siskind?

22                MR. SISKIND:    No, Your Honor.     Sorry.

23                THE COURT:    Ms. Bailey?

24                MS. BAILEY:    I do not, Your Honor.

25                THE COURT:    Okay.    All right.
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 1                MS. LeDUC:    Your Honor, you were asking --

 2                THE COURT:    Who is speaking, please?

 3                MS. LeDUC:    I'm sorry.    This is Vickie LeDuc.

 4                THE COURT:    Go ahead.

 5                MS. LeDUC:    I wanted to follow up on your question

 6    about how many pending applications there are.

 7                THE COURT:    All right.

 8                MS. LeDUC:    And I have gotten a break down that there

 9    are now pending approximately 278,881.

10                THE COURT:    What kind of applications are you

11    speaking of?

12                MS. LeDUC:    EB1s, EB2s, EB3s that the plaintiffs --

13    plaintiffs allege they are in, EB4s, and EB5s.

14                THE COURT:    What's the total number again of those?

15                MS. LeDUC:    278,888.

16                THE COURT:    Is it your statement, then, that they are

17    all in the same boat, if you will, as the applicants in this

18    case?

19                MS. LeDUC:    They are all within the employment based,

20    but I believe the plaintiffs allege only EB1, 2, and 3

21    categories, not the EB4 and 5.

22                THE COURT:    Does that make a difference?

23                MS. LeDUC:    Well, that takes out another 20 -- of the

24    275 -- 278,000 total, you could take out another 25,000 that

25    would not be in the categories here.
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 1                 THE COURT:   So is it fair to conclude that some

 2    250,000 are in the same category as the 196 in this case?

 3                 MS. LeDUC:   That's the information I am getting, yes.

 4                 THE COURT:   Okay.

 5                 MS. LeDUC:   And, Your Honor, there is one other point

 6    that they made that I wanted to address.

 7                 THE COURT:   Go ahead.

 8                 MS. LeDUC:   And that's about the -- the three cases

 9    that they talked -- that plaintiffs talk about where the Court

10    has entered orders holding over unused -- you know, to require

11    CIS to adjudicate unused visa numbers after the fiscal year

12    ended.

13                 THE COURT:   Well, Ms. LeDuc, let me tell you, I have

14    read your papers so I don't really need to hear the argument on

15    that and I don't want to engage with everybody telling me what

16    one case does and doesn't apply.        That's not going to help at

17    this point.    So let me rely on your papers.       I can read the

18    cases.    I can decide whether they are relevant or not relevant.

19             Let me tell you where I am.     I can leave this conference,

20    if you will, on September 14th because there are 16 days left

21    before September 30, and on the basis of that, I see my -- the

22    request by the plaintiffs to somehow either adjudicate or to

23    agree to service to adjudicate all 196 or whatever was left of

24    those applications between now and then, an enormous, really

25    impossible task, or to order the agency to reserve these places
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 1    for some time even after September 30 so that the 196

 2    petitioners in this case can get their requests acted upon on

 3    an expedited basis.      And I understand arguments that have been

 4    made pro and con about this.

 5             I need to tell you where I am because I want to give

 6    plaintiffs fair warning as to what is likely to come.            I am

 7    telling you now, although I obviously have sent out for

 8    briefing by the parties for a longer period of time to respond

 9    with respect to the motion to transfer, but my hand is being

10    forced now with regard to the case that I have before me.           I am

11    strongly inclined, based on what I have read in the pleadings

12    here, what we have done on our own research, to order the

13    transfer of these cases out of Maryland and back to the

14    jurisdictions where the plaintiffs rely.

15             Now, that said, to the extent that I do that, I don't

16    really need to get much into the issue of the merits of the

17    preliminary injunction, but I might say as well I am strongly

18    inclined, should I reach that point, to deny the motion for

19    preliminary injunction because I have been asked really at the

20    eleventh hour, this was filed August 3rd, expecting a Court to

21    stop everything it was doing and adjudicate 196 different

22    petitions, to do an enormous amount of work, nothing else but

23    that before September 30.       It was a decision presumably made by

24    plaintiffs' counsel to put the burden on the agency, on the

25    Court.    I don't think it rightfully belongs there.         But I will
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 1    write an opinion ordering the transfer of these cases, as many

 2    as there are, to the jurisdiction where the plaintiffs reside

 3    and so on, largely on bending grounds.         That's coming.    I don't

 4    know the extent to which you will need for me to talk about the

 5    preliminary injunction, but the prospects of any kind of

 6    prevailing in that regard by plaintiffs is dim.          I am telling

 7    you that now.

 8           And here is why I am telling you this:         Because there are

 9    two weeks remaining for plaintiffs' counsel to give some

10    thought to consenting to a quick -- and I can do this -- I

11    mean, I can't make you do it, and I will make sure I enter an

12    order based on what I decide -- to do something in the two

13    weeks that remain in the jurisdictions where I think they

14    properly belong because to ask me now to make that

15    determination, I, candidly, fear that if I make a

16    determination, that it would not be in the best interests of

17    the plaintiffs to go back to these jurisdictions which I would

18    order with a finding by this Court that you really don't have

19    either standing or any other reason to go forward in this case.

20           Rather, if you go now sort of voluntarily, and I

21    certainly can't order that, I am just suggesting it, I don't

22    know what the adverse consequences would be if somehow you

23    stayed in this Court and I made findings that denied your

24    motion for preliminary injunction.        But, candidly, I do

25    strongly believe that these cases that should be transferred
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 1    out, I am not sure all would be, but should be transferred out

 2    will be transferred out.

 3           I understand there is an argument now made that's a

 4    supposed policy that's being attacked by people located in

 5    Maryland.    I am not inclined to agree with that.        I do think

 6    this is basically a request to take 196 people ahead of another

 7    250,000 or 240,000 plus and say, Put me in line first, and I am

 8    not inclined to agree with that.

 9           So do what you will, but plaintiffs' counsel, I am

10    telling you now where I am very likely to go on this.            You can

11    expect a, unless the parties are consenting otherwise, a ruling

12    from me certainly by September 30 that these cases will be

13    ordered to be transferred notwithstanding the opposition that I

14    understand has been filed by the plaintiffs.

15           And, again, I will not be ordering that the service --

16    that the agency adjudicate all 196 cases by September 30 or

17    reserve places otherwise for these particular plaintiffs as

18    against the universe of people in their same situation.

19           So that's what's coming.      Plaintiffs' counsel take heed,

20    I mean, do what you will.       I am not going to force you to do

21    anything, but this suit was filed August 3rd.          It should have

22    been filed January 3rd.      It should have been filed in February.

23    And then the issue of transfer would have at least given the

24    local jurisdictions there, some of which might be inclined to

25    disagree with the Court on the preliminary injunction, to do
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 1    what they will do.

 2             Now my hand is forced to make a decision at this

 3    juncture, but I am giving you two weeks to decide what you want

 4    to do.    Meantime, my order will come and you will have to live

 5    or not live according to that order.

 6             So that's where I am, and I don't really expect to

 7    entertain argument to reconsider or do whatever.          I have done

 8    my best in a very short order to look at what this case is all

 9    about, and I have studied the transcript from the September 1

10    hearing and thought through where we are on this and looked at

11    the law about transfer and so on.        I understand there may be

12    some parties that are less -- some Courts that are not -- would

13    not entirely be in agreement, but it's not where I am likely to

14    be.

15             So, that said, you have my word as to where I am and you

16    should act accordingly.

17             Now, you -- as I say, I had hoped that I would be able to

18    put off the issue of transfer to give everybody, all the

19    plaintiffs' counsel a chance to respond to the universal motion

20    which I recommended.      Obviously, the great likelihood will be

21    that I will concur in my larger decision that I will recommend

22    to my colleagues about transferring these cases out.

23             So that's where we are.    There is a court reporter.

24    Renee, are you on the call?

25                 THE COURT REPORTER:    I am, Judge.
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 1                THE COURT:    All right.    Well, we have had a

 2    transcript made and I certainly would like a copy of that, as I

 3    am sure counsel would.      And that's where we stand, folks.    So I

 4    have given you, again, a fair indication of where we are.

 5    Counsel need to rethink, plaintiffs' counsel in particular,

 6    what you want to do here.       You can, you know, stand fast if

 7    that's what you choose to do.       I will make my ruling in any

 8    event for those who are still around by the end of the month,

 9    and I will have that ruling made, too.

10           I don't -- as I say, I don't know that I necessarily

11    reached the merits of the preliminary injunction, but should

12    that be necessary, again, the likelihood -- the good likelihood

13    is that I will deny it.

14           So, that said, folks, I don't know if there is anything

15    more to be said, and I thank you for dialing in for the call.

16           Anything else?     All right.    Thank you, everyone.

17                MS. LeDUC:    Thank you, Your Honor.

18           (The proceedings were concluded at 2:35 p.m.)

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 1                         C E R T I F I C A T E

 2

 3                 I, Renee A. Ewing, an Official Court Reporter for

 4    the United States District Court for the District of Maryland,

 5    do hereby certify that the foregoing is a true and correct

 6    transcript of the stenographically reported proceedings taken

 7    on the date and time previously stated in the above matter;

 8    that the testimony of witnesses and statements of the parties

 9    were correctly recorded in machine shorthand by me and

10    thereafter transcribed under my supervision with computer-aided

11    transcription to the best of my ability; and that I am neither

12    of counsel nor kin to any party in said action, nor interested

13    in the outcome thereof.

14

15
                      Renee A. Ewing
16
                      Renee A. Ewing, RPR, RMR, CRR
17                    Official Court Reporter
                      September 16, 2021
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